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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 _________________________________________

COLLEEN BEHM,                             :
          Plaintiff,                      :
                                          :
            v.                            :                Civil No. 5:21-cv-02500-JMG
                                          :
MACK TRUCKS, INC., et al,                 :
            Defendants.                   :
__________________________________________

                                           ORDER
       AND NOW, this 8th day of June, 2022, upon consideration of Defendant’s Motion for

Summary Judgment (ECF No. 25), IT IS HEREBY ORDERED as follows:

       1.    The motion is GRANTED.

       2.    Judgement is ENTERED against Plaintiff and in favor of Defendant on Count I of

Plaintiff’s Amended Complaint, which contains Plaintiff’s claim under the Americans with

Disabilities Act.

       3.    Judgement is ENTERED against Plaintiff and in favor of Defendant on Count IV of

Plaintiff’s Amended Complaint insofar as that Count states a claim for disability discrimination

under the Pennsylvania Human Relations Act.

       4.     Plaintiff is ORDERED to SHOW CAUSE no later than June 24, 2022, why

judgment should not be entered against her on Count IV of the Amended Complaint insofar as that

Count states a claim for discrimination on the basis of sex under the Pennsylvania Human

Relations Act.



                                                   BY THE COURT:



                                                   /s/ John M. Gallagher
                                                   JOHN M. GALLAGHER
                                                   United States District Court Judge
